                            Exhibit B




#8321620 v2 \016594 \0006



DOCS_DE:222503.1
                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )   Chapter 11
                                                                )
VER TECHNOLOGIES HOLDCO LLC, et al.,1                           )   Case No. 18-10834 (KG)
                                                                )
                                    Debtors.                    )   (Jointly Administered)
                                                                )

                            ORDER SUSTAINING
    SECOND OMNIBUS (SUBSTANTIVE) OBJECTION PURSUANT TO SECTION 502(b)
                 OF THE BANKRUPTCY CODE, BANKRUPTCY
                RULES 3003 AND 3007, AND LOCAL RULE 3007–1

                      Upon consideration of the Second Omnibus (Substantive) Objection Pursuant to

Section 502(b) of the Bankruptcy Code, Bankruptcy Rules 3003 and 3007, and Local Rule 3007–

1 (the “Objection”)2 filed by the Debtors, and through the merger effectuated via the Plan,3

Production Resource Group Inc. (“PRG”; together with the Debtors, the “Reorganized Debtor”)

in the above-captioned chapter 11 cases, for entry of an order disallowing and expunging in full

the No Liability Claims on Exhibit 1 attached to this Order, partially disallowing the Reduce

Claims and reducing such claims in the amounts indicated on Exhibit 2, and partially

disallowing the Reduce and Reclassify Claims and reducing and reclassifying such claims in the

amounts indicated on Exhibit 3; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and this Court having


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: VER Technologies HoldCo LLC (7239); CPV Europe Investments LLC (2533); FAAST Leasing
California, LLC (7857); Full Throttle Films, LLC (0487); Maxwell Bay Holdings LLC (3433); Revolution Display,
LLC (6711); VER Finco, LLC (5625); VER Technologies LLC (7501); and VER Technologies MidCo LLC (7482).
The location of the Debtors’ service address is: 757 West California Avenue, Building 4, Glendale, California
91203.
2
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Objection.
3
  The Debtors’ Plan of Reorganization was confirmed by the Court at Docket No. 647.
#8321620 v2 \016594 \0006



DOCS_DE:222503.1
found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the

Objection is in the best interests of the Reorganized Debtor, the estates, creditors, and other

parties in interest; and this Court having found that notice of and opportunity for a hearing on the

Objection were appropriate and no other notice need be provided; and this Court having

reviewed the Objection and having determined that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:

               1.      Any response to the Objection not otherwise withdrawn, resolved, or

adjourned is hereby overruled on its merits.

               2.      The official claims register in these chapter 11 cases shall be modified in

accordance with this Order.

               3.      The No Liability Claims listed under the column “No Liability Claim to be

Disallowed” on Exhibit 1 attached to this Order are hereby disallowed and expunged in their

entirety.

               4.      The Reduce Claims listed on Exhibit 2 attached to this Order are hereby

reduced to the amounts indicated on Exhibit 2, and the balance of such claims is disallowed and

expunged.

               5.      The Reduce and Reclassify Claims listed on Exhibit 3 attached to this

Order are hereby reduced and reclassified to the amounts and classifications indicated on



                                                 2
Exhibit 3, and the balance of such claims is disallowed and expunged.

               6.         The Reorganized Debtor’s right to amend, modify, or supplement the

Objection, to file additional objections to any other claims (filed or not) which may be asserted,

and to seek further reduction of any claim to the extent such claim has been paid, are preserved.

               7.         The inclusion of claims on Exhibits 1 through 3, does not reflect any

view by the Reorganized Debtor or this Court as to the ultimate validity of any such claim. All

rights of the Reorganized Debtor to further object to any or all of these claims at a later date on

any basis whatsoever is reserved.

               8.         The Reorganized Debtor further reserves its rights to use any available

defenses under section 502 of the Bankruptcy Code to setoff against or otherwise reduce all or

part of any claim. Further, any and all affirmative claims are specifically preserved and are not

affected by this Order.

               9.         Each claim and the objection as set forth on Exhibits 1 through 3 to this

Order, constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014. This

Order shall be deemed a separate Order with respect to each of the claims.

               10.        The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

               11.        The Reorganized Debtor is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order.

               12.        This Court shall retain jurisdiction to interpret, implement, and enforce the

terms and provisions of this Order.

Dated: _______________________, 2019
                                                        The Honorable Kevin Gross
                                                        United States Bankruptcy Judge



                                                    3
                                                                                                                          In re:VER Technologies Holdco LLC, et al.
                                                             Exhibit 1
                                                                                                                         Case No 18-10834 (KG) Jointly Administered
                                                         No Liability Claims


                                   Date Claim    Claim                            Claim Amount
    Name of Claimant and Address     Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

AEROTEK INC
7317 PARKWAY DRIVE                  5/3/2018      143          $0.00      $0.00         $0.00    $5,365.03   $5,365.03   Pursuant to the Debtors' books and records,
HANOVER, MD 21076                                                                                                        the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




B2 SERVICES, INC
24322 WEST CALADIUM PLACE           6/11/2018     640          $0.00      $0.00         $0.00    $3,650.00   $3,650.00   Pursuant to the Debtors' books and records,
VALENCIA, CA 91354                                                                                                       the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




BIRDDOG DISTRIBUTING, INC.
1490 HARPER PUCKET RD.              5/24/2018     286          $0.00      $0.00         $0.00    $1,116.06   $1,116.06   This Disputed Claim asserts a claim against a
BOZEMAN, MT 59718                                                                                                        debtor in a different bankruptcy case.
                                                                                                                         Pursuant to the Debtors' books and records,
                                                                                                                         the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




                                                                                                                                       Page 1
                                                                                                                                       In re:VER Technologies Holdco LLC, et al.
                                                               Exhibit 1
                                                                                                                                      Case No 18-10834 (KG) Jointly Administered
                                                           No Liability Claims


                                     Date Claim    Claim                              Claim Amount
    Name of Claimant and Address       Filed      Number     Secured     Admin          Priority  Unsecured             Total          Basis for Proposed Disallowance

BLUELINE SERVICES LLC
WILLIAM TOWE                          5/23/2018     278          $0.00    $7,755.11         $0.00           $0.00         $7,755.11   This Disputed Claim asserts a claim against a
1800 HIGHLAND SHORES BLVD.                                                                                                            debtor in a different bankruptcy case.
HIGHLAND VILLIAGE, TX 75077                                                                                                           Pursuant to the Debtors' books and records,
                                                                                                                                      the Debtors have determined that there are no
                                                                                                                                      amounts outstanding pertaining to this
                                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                                      liability related to this claim.




BRANDON WHEATLEY
C/O JONATHAN I. LEVINE                6/8/2018      528          $0.00       $0.00          $0.00           $0.00             UNL     Pursuant to the Debtors' books and records,
MORRISON AND FOERSTER LLP 250 WEST                                                                                                    the Debtors have determined that there are no
55TH STREET                                                                                                                           amounts outstanding pertaining to this
NEW YORK, NY 10019                                                                                                                    assertion. Therefore, the Debtor has no
                                                                                                                                      liability related to this claim.




CIT BANK, N.A.
C/O JOHN J. MONAGHAN, ESQ.            6/6/2018      515          $0.00       $0.00          $0.00   $13,123,056.40   $13,123,056.40   Pursuant to the Debtors' books and records,
HOLLAND & KNIGHT LLP 10 ST. JAMES                                                                                                     the Debtors assumed the creditor's contract,
AVENUE                                                                                                                                cured the contract and have no outstanding
BOSTON, MA 02116                                                                                                                      liability related to this claim.




                                                                                                                                                    Page 2
                                                                                                                                     In re:VER Technologies Holdco LLC, et al.
                                                                       Exhibit 1
                                                                                                                                    Case No 18-10834 (KG) Jointly Administered
                                                                   No Liability Claims


                                             Date Claim    Claim                            Claim Amount
    Name of Claimant and Address               Filed      Number     Secured     Admin        Priority  Unsecured      Total         Basis for Proposed Disallowance

D3 LED, LLC
ANTIONETTE M. TEASE, ESQ.                     6/7/2018      464          $0.00      $0.00         $0.00        $0.00        UNL     Pursuant to the Debtors' books and records,
ANTOINETTE M. TEASE, P.L.L.C. PO BOX 51016                                                                                          the Debtors have determined that there are no
175 N. 27TH ST., STE. 902                                                                                                           amounts outstanding pertaining to this
BILLINGS, MT 59105                                                                                                                  assertion. Therefore, the Debtor has no
                                                                                                                                    liability related to this claim.




DAVID IMLAU
4344 BOOTJACK TRL                             6/7/2018      480          $0.00      $0.00         $0.00   $22,981.25   $22,981.25   Pursuant to the Debtors' books and records,
HOWELL, MI 48843                                                                                                                    the Debtors have determined that there are no
                                                                                                                                    amounts outstanding pertaining to this
                                                                                                                                    assertion. Therefore, the Debtor has no
                                                                                                                                    liability related to this claim.




DE LAGE LANDEN - 1
JOE PANEGHELLO                                5/24/2018     284          $0.00      $0.00         $0.00   $10,435.82   $10,435.82   This Disputed Claim asserts a claim against a
1111 OLD EAGLE SCHOOL RD                                                                                                            debtor in a different bankruptcy case.
WAYNE, PA 19087                                                                                                                     Pursuant to the Debtors' books and records,
                                                                                                                                    the Debtors have determined that there are no
                                                                                                                                    amounts outstanding pertaining to this
                                                                                                                                    assertion. Therefore, the Debtor has no
                                                                                                                                    liability related to this claim.




                                                                                                                                                  Page 3
                                                                                                                               In re:VER Technologies Holdco LLC, et al.
                                                                  Exhibit 1
                                                                                                                              Case No 18-10834 (KG) Jointly Administered
                                                              No Liability Claims


                                        Date Claim    Claim                            Claim Amount
    Name of Claimant and Address          Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

DIGBY DAVIES
C/O JONATHAN I. LEVINE                   6/8/2018      530          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
MORRISON AND FOERSTER LLP 250 WEST                                                                                            the Debtors have determined that there are no
55TH STREET                                                                                                                   amounts outstanding pertaining to this
NEW YORK, NY 10019                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




DONALD BURGHARDT / DB FILM WORKS, INC
26893 BOUQUET CANYON RD., SUITE 144      5/31/2018     357          $0.00      $0.00         $0.00    $1,376.00   $1,376.00   Pursuant to the Debtors' books and records,
SANTA CLARITA, CA 91350                                                                                                       the Debtors have determined that there are no
                                                                                                                              amounts outstanding pertaining to this
                                                                                                                              assertion. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




DOWNS RACHLIN MARTIN PLLC
PO BOX 99                                6/18/2018     663          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
ST JOHNSBURY, VT 05819-0099                                                                                                   the Debtors have determined that there are no
                                                                                                                              amounts outstanding pertaining to this
                                                                                                                              assertion. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




                                                                                                                                            Page 4
                                                                                                                          In re:VER Technologies Holdco LLC, et al.
                                                             Exhibit 1
                                                                                                                         Case No 18-10834 (KG) Jointly Administered
                                                         No Liability Claims


                                   Date Claim    Claim                            Claim Amount
    Name of Claimant and Address     Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

EASTLAND FORRESTER CORP.
1320 STORM PARKWAY                  5/18/2018     220          $0.00      $0.00         $0.00    $8,000.00   $8,000.00   Pursuant to the Debtors' books and records,
TORRANCE, CA 90501                                                                                                       the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




FISHER, JOSHUA
6713 W. MEGAN AVE.                  5/17/2018     200          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
LAS VEGAS, NV 89018                                                                                                      the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




FOAM YETI, LLC
1029 METFIELD ROAD                  5/22/2018     234          $0.00      $0.00         $0.00    $5,000.00   $5,000.00   Pursuant to the Debtors' books and records,
BALTIMORE, MD 21286                                                                                                      the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




                                                                                                                                       Page 5
                                                                                                                       In re:VER Technologies Holdco LLC, et al.
                                                             Exhibit 1
                                                                                                                      Case No 18-10834 (KG) Jointly Administered
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                                   Date Claim    Claim                            Claim Amount
    Name of Claimant and Address     Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

FOURTH FLOOR PRODUCTIONS
650 CAMBRIDGE STREET                5/30/2018     336          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
CAMBRIDGE, MA 02141                                                                                                   the Debtors have determined that there are no
                                                                                                                      amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




GR8REEL, INC
815 N. BUENA VISTA STREET           5/29/2018     322          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
BURBANK, CA 91505                                                                                                     the Debtors have determined that there are no
                                                                                                                      amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




GREG LEFEVRE MEDIA, LLC
BOX 109                             5/31/2018     356          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
CARDIFF, CA 92007                                                                                                     the Debtors have determined that there are no
                                                                                                                      amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




                                                                                                                                    Page 6
                                                                                                                           In re:VER Technologies Holdco LLC, et al.
                                                             Exhibit 1
                                                                                                                          Case No 18-10834 (KG) Jointly Administered
                                                         No Liability Claims


                                   Date Claim    Claim                            Claim Amount
    Name of Claimant and Address     Filed      Number     Secured     Admin        Priority  Unsecured      Total         Basis for Proposed Disallowance

HAVERTY, SEAN JAMES
SEAN HAVERTY                        5/18/2018     215          $0.00      $0.00     $12,850.00   $2,600.00   $15,450.00   Pursuant to the Debtors' books and records,
14035 SILETZ HWY                                                                                                          the Debtors have determined that there are no
SILETZ, OR 97380                                                                                                          amounts outstanding pertaining to this
                                                                                                                          assertion. Therefore, the Debtor has no
                                                                                                                          liability related to this claim.




J. MICHAEL CHU
MATTHEW LEEDS                       6/8/2018      632          $0.00      $0.00          $0.00      $0.00         UNL     Pursuant to the Debtors' books and records,
C/O L. CATTERTON 599 WEST PUTNAM                                                                                          the Debtors have determined that there are no
AVENUE                                                                                                                    amounts outstanding pertaining to this
GREENWICH, CT 06839                                                                                                       assertion. Therefore, the Debtor has no
                                                                                                                          liability related to this claim.




JEFFREY E. HACHQUET
2270 S. CIMARRON ROAD               5/22/2018     232          $0.00      $0.00          $0.00      $0.00         UNL     Pursuant to the Debtors' books and records,
LAS VEGAS, NV 89117                                                                                                       the Debtors have determined that there are no
                                                                                                                          amounts outstanding pertaining to this
                                                                                                                          assertion. Therefore, the Debtor has no
                                                                                                                          liability related to this claim.




                                                                                                                                        Page 7
                                                                                                                            In re:VER Technologies Holdco LLC, et al.
                                                              Exhibit 1
                                                                                                                           Case No 18-10834 (KG) Jointly Administered
                                                          No Liability Claims


                                    Date Claim    Claim                            Claim Amount
    Name of Claimant and Address      Filed      Number     Secured     Admin        Priority  Unsecured      Total         Basis for Proposed Disallowance

JEFFREY KRUEGER
6961 PAULA CIR                       9/19/2018     747          $0.00      $0.00         $0.00    $2,509.00    $2,509.00   Pursuant to the Debtors' books and records,
HUNTINGTON BEACH, CA 92647                                                                                                 the Debtors have determined that there are no
                                                                                                                           amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




JENNISE HALL
4543 SANCOLA AVENUE                  7/9/2018      690          $0.00      $0.00         $0.00        $0.00        UNL     Pursuant to the Debtors' books and records,
TOLUCA LAKE, CA 91602                                                                                                      the Debtors have determined that there are no
                                                                                                                           amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




KOREAN AMERICAN PUBLICATIONS, INC
JAMES RYU                            5/23/2018     279          $0.00      $0.00         $0.00   $10,000.00   $10,000.00   This Disputed Claim asserts a claim against a
17000 S VERMONT AVENUE, SUITE A                                                                                            debtor in a different bankruptcy case.
GARDENA, CA 90247                                                                                                          Pursuant to the Debtors' books and records,
                                                                                                                           the Debtors have determined that there are no
                                                                                                                           amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




                                                                                                                                         Page 8
                                                                                                                                In re:VER Technologies Holdco LLC, et al.
                                                                   Exhibit 1
                                                                                                                               Case No 18-10834 (KG) Jointly Administered
                                                               No Liability Claims


                                         Date Claim    Claim                            Claim Amount
    Name of Claimant and Address           Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

LANDMARK AUDIO LLC
1712 SHORECREST PT                        5/21/2018     227          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
WHITES CREEK, TN 37189                                                                                                         the Debtors have determined that there are no
                                                                                                                               amounts outstanding pertaining to this
                                                                                                                               assertion. Therefore, the Debtor has no
                                                                                                                               liability related to this claim.




LEAF CAPITAL FUNDING, LLC ACCOUNT 100-
2561138-001                               6/6/2018      526          $0.00      $0.00         $0.00    $1,603.21   $1,603.21   Pursuant to the Debtors' books and records,
C/O LEGAL DEPARTMENT                                                                                                           the Debtors have determined that there are no
LEAF 2005 MARKET ST, 14TH FLOOR                                                                                                amounts outstanding pertaining to this
PHILADELPHIA, PA 19103                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                               liability related to this claim.




LEAF CAPITAL FUNDING, LLC ACCOUNT 100-
2679408-001                               6/6/2018      527          $0.00      $0.00         $0.00    $1,021.85   $1,021.85   Pursuant to the Debtors' books and records,
C/O LEGAL DEPARTMENT                                                                                                           the Debtors have determined that there are no
LEAF 2005 MARKET ST, 14TH FLOOR                                                                                                amounts outstanding pertaining to this
PHILADELPHIA, PA 19103                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                               liability related to this claim.




                                                                                                                                             Page 9
                                                                                                                         In re:VER Technologies Holdco LLC, et al.
                                                               Exhibit 1
                                                                                                                        Case No 18-10834 (KG) Jointly Administered
                                                           No Liability Claims


                                     Date Claim    Claim                            Claim Amount
    Name of Claimant and Address       Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

LIGHTHOUSE CHRISTIAN CHURCH
4700 MESA DRIVE                       5/24/2018     299          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
OCEANSIDE, CA 92056                                                                                                     the Debtors have determined that there are no
                                                                                                                        amounts outstanding pertaining to this
                                                                                                                        assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




LIVING WATER CHRISTIAN FELLOWSHIP
KEVIN D. QUERRY                       5/17/2018     188          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
9801 TALBERT AVENUE                                                                                                     the Debtors have determined that there are no
FOUNTAIN VALLEY, CA 92708                                                                                               amounts outstanding pertaining to this
                                                                                                                        assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




MARC MAGLIACANO
C/O JONATHAN I. LEVINE                6/8/2018      574          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
MORRISON AND FOERSTER LLP 250 WEST                                                                                      the Debtors have determined that there are no
55TH STREET                                                                                                             amounts outstanding pertaining to this
NEW YORK, NY 10019                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




                                                                                                                                      Page 10
                                                                                                                            In re:VER Technologies Holdco LLC, et al.
                                                               Exhibit 1
                                                                                                                           Case No 18-10834 (KG) Jointly Administered
                                                           No Liability Claims


                                     Date Claim    Claim                            Claim Amount
    Name of Claimant and Address       Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

MATT LEEDS
C/O JONATHAN I. LEVINE                6/8/2018      617          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
MORRISON AND FOERSTER LLP 250 WEST                                                                                         the Debtors have determined that there are no
55TH STREET                                                                                                                amounts outstanding pertaining to this
NEW YORK, NY 10019                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




MATTHEW LEEDS
C/O L. CATTERTON                      6/8/2018      631          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
599 WEST PUTNAM AVENUE                                                                                                     the Debtors have determined that there are no
GREENWICH, CT 06830                                                                                                        amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




MILLIONS OF TINY ROBOTS LTD.
ATHALIE WHITE                         5/21/2018     224          $0.00      $0.00         $0.00    $1,330.30   $1,330.30   Pursuant to the Debtors' books and records,
112 KROG ST NE STE 24                                                                                                      the Debtors have determined that there are no
ATLANTA, GA 30307-5518                                                                                                     amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




                                                                                                                                         Page 11
                                                                                                                            In re:VER Technologies Holdco LLC, et al.
                                                                  Exhibit 1
                                                                                                                           Case No 18-10834 (KG) Jointly Administered
                                                              No Liability Claims


                                        Date Claim    Claim                            Claim Amount
    Name of Claimant and Address          Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

MISSISSIPPI DEPARTMENT OF REVENUE
BANKRUPTCY SECTION                       7/3/2018      683          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
PO BOX 22808                                                                                                               the Debtors have determined that there are no
JACKSON, MS 39225-2808                                                                                                     amounts outstanding pertaining to this
                                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




MURRAYPRO ELECTRONICS
ANTHONY DRUMMOND - MURRAY                5/30/2018     334          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
8 GLAMORGAN ROAD                                                                                                           the Debtors have determined that there are no
HAMPTON WICK, SURREY KT1 4HP                                                                                               amounts outstanding pertaining to this
UNITED KINGDOM                                                                                                             assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




NEW FAAST, LLC
ATTN MICHAEL T. DELANEY AND HOWARD J.    6/8/2018      589          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
WEG                                                                                                                        the Debtors have determined that there are no
ROBINS KAPLAN LLP 2049 CENTURY PARK                                                                                        amounts outstanding pertaining to this
EAST, SUITE 3400                                                                                                           assertion. Therefore, the Debtor has no
                                                                                                                           liability related to this claim.




                                                                                                                                         Page 12
                                                                                                                             In re:VER Technologies Holdco LLC, et al.
                                                                Exhibit 1
                                                                                                                            Case No 18-10834 (KG) Jointly Administered
                                                            No Liability Claims


                                      Date Claim    Claim                             Claim Amount
    Name of Claimant and Address        Filed      Number     Secured     Admin         Priority  Unsecured     Total        Basis for Proposed Disallowance

NEW REV, INC.
ATTN HOWARD J. WEG AND MICHAEL T.      6/8/2018      592          $0.00       $0.00         $0.00       $0.00       UNL     Pursuant to the Debtors' books and records,
DELANEY                                                                                                                     the Debtors have determined that there are no
ROBINS KAPLAN LLP 2049 CENTURY PARK                                                                                         amounts outstanding pertaining to this
EAST, SUITE 3400                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




NOLA SLATES
KEITH POKORSKI/SARAH BOWMAN            5/24/2018     300          $0.00     $600.00         $0.00       $0.00     $600.00   Pursuant to the Debtors' books and records,
1145 ARBORDALE                                                                                                              the Debtors have determined that there are no
DECATUR, GA 30033                                                                                                           amounts outstanding pertaining to this
                                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




NORTHWEST VIDEO EDGE
7517 E HEATHER WAY                     5/21/2018     226          $0.00       $0.00         $0.00       $0.00       UNL     Pursuant to the Debtors' books and records,
EVERETT, WA 89203                                                                                                           the Debtors have determined that there are no
                                                                                                                            amounts outstanding pertaining to this
                                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




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                                     Date Claim    Claim                            Claim Amount
    Name of Claimant and Address       Filed      Number     Secured     Admin        Priority  Unsecured       Total          Basis for Proposed Disallowance

PATRICK CAMPBELL
16654 SOLEDAD CANYON ROAD, #103       8/2/2018      716          $0.00      $0.00         $0.00   $477,493.90   $477,493.90   Pursuant to the Debtors' books and records,
CANYON COUNTRY, CA 91387                                                                                                      the Debtors have determined that all
                                                                                                                              outstanding prepetition employee obligations
                                                                                                                              were satisfied. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




PEPPERDASH TECHNOLOGY CORP.
27 CONGRESS STREET, SUITE 104         5/23/2018     267          $0.00      $0.00         $0.00         $0.00         UNL     Pursuant to the Debtors' books and records,
SALEM, MA 01970                                                                                                               the Debtors have determined that there are no
                                                                                                                              amounts outstanding pertaining to this
                                                                                                                              assertion. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




PROFESSIONAL AUDIO INSTALLATION CO
470 HWY 431N                          5/15/2018     160          $0.00      $0.00         $0.00         $0.00         UNL     Pursuant to the Debtors' books and records,
MARTIN, TN 38237                                                                                                              the Debtors have determined that there are no
                                                                                                                              amounts outstanding pertaining to this
                                                                                                                              assertion. Therefore, the Debtor has no
                                                                                                                              liability related to this claim.




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                                     Date Claim    Claim                            Claim Amount
    Name of Claimant and Address       Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

RICHEMONT NORTH AMERICA, INC.
MEGAN FUNG                            6/7/2018      473          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
645 FIFTH AVE.                                                                                                          the Debtors have determined that there are no
NEW YORK, NY 10022                                                                                                      amounts outstanding pertaining to this
                                                                                                                        assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




ROBERT KRAKAUER
C/O JONATHAN I. LEVINE                6/8/2018      503          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
MORRISON AND FOERSTER LLP 250 WEST                                                                                      the Debtors have determined that there are no
55TH STREET                                                                                                             amounts outstanding pertaining to this
NEW YORK, NY 10019                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




STRICK RECHTSANWAELTE UND
STEUERBERATER                         7/12/2018     698          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
SIEMENSSTRASSE 31                                                                                                       the Debtors have determined that there are no
KLEVE, NRW 47533                                                                                                        amounts outstanding pertaining to this
GERMANY                                                                                                                 assertion. Therefore, the Debtor has no
                                                                                                                        liability related to this claim.




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                                      Date Claim    Claim                            Claim Amount
    Name of Claimant and Address        Filed      Number     Secured     Admin        Priority  Unsecured      Total        Basis for Proposed Disallowance

TAKISHA TOOMER
110 EAST BONANZA ROAD SU 16            4/16/2018     28           $0.00      $0.00         $0.00    $3,120.00   $3,120.00   Pursuant to the Debtors' books and records,
LAS VEGAS, NV 89101                                                                                                         the Debtors have determined that there are no
                                                                                                                            amounts outstanding pertaining to this
                                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




TEAM ALTERNATIVES, INC.
ASHLEY WILSON, GENERAL COUNSEL         6/25/2018     670          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
901 W ALAMEDA AVE STE 100                                                                                                   the Debtors have determined that there are no
BURBANK, CA 91506-2801                                                                                                      amounts outstanding pertaining to this
                                                                                                                            assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




THE TRAVELERS INDEMNITY COMPANY AND
ITS PROPERTY CASUALTY INSURANCE        6/6/2018      430          $0.00      $0.00         $0.00       $0.00        UNL     Pursuant to the Debtors' books and records,
AFFILIATES                                                                                                                  the Debtors have determined that there are no
MICHAEL GAUNTLETT, ACCOUNT                                                                                                  amounts outstanding pertaining to this
RESOLUTION                                                                                                                  assertion. Therefore, the Debtor has no
                                                                                                                            liability related to this claim.




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                                      Date Claim    Claim                            Claim Amount
    Name of Claimant and Address        Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

THE TRAVELERS INDEMNITY COMPANY AND
ITS PROPERTY CASUALTY INSURANCE        6/6/2018      435          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
AFFILIATES                                                                                                               the Debtors have determined that there are no
MICHAEL GAUNTLETT                                                                                                        amounts outstanding pertaining to this
ONE TOWER SQUARE, 0000-FP15                                                                                              assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




VADIM EPSTEIN
80 NARROWS RD                          5/15/2018     171          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
STATEN ISLAND, NY 10305-2801                                                                                             the Debtors have determined that there are no
                                                                                                                         amounts outstanding pertaining to this
                                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




VINCENT DUNDEE III JUDITH DUNDEE
ATTN HOWARD J. WEG AND MICHAEL T.      6/8/2018      637          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
DELANEY                                                                                                                  the Debtors have determined that there are no
ROBINS KAPLAN LLP 2049 CENTURY PARK                                                                                      amounts outstanding pertaining to this
EAST, SUITE 3400                                                                                                         assertion. Therefore, the Debtor has no
                                                                                                                         liability related to this claim.




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                                   Date Claim    Claim                            Claim Amount
    Name of Claimant and Address     Filed      Number     Secured     Admin        Priority  Unsecured     Total      Basis for Proposed Disallowance

VINCENT PACE
ERIN K. BRIGNOLA, ESQUIRE           6/8/2018      535          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
30 FOX HUNT DRIVE, UNIT 30                                                                                            the Debtors have determined that there are no
BEAR, DE 19701                                                                                                        amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




VINCENT PACE
ERIN K. BRIGNOLA, ESQUIRE           6/8/2018      550          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
30 FOX HUNT DRIVE, UNIT 30                                                                                            the Debtors have determined that there are no
BEAR, DE 19701                                                                                                        amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




VINCENT PACE
ERIN K. BRIGNOLA, ESQUIRE           6/11/2018     651          $0.00      $0.00         $0.00       $0.00       UNL   Pursuant to the Debtors' books and records,
30 FOX HUNT DRIVE, UNIT 30                                                                                            the Debtors have determined that there are no
BEAR, DE 19701                                                                                                        amounts outstanding pertaining to this
                                                                                                                      assertion. Therefore, the Debtor has no
                                                                                                                      liability related to this claim.




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                                           Date Claim         Claim                              Claim Amount
    Name of Claimant and Address             Filed           Number     Secured     Admin          Priority  Unsecured              Total          Basis for Proposed Disallowance

WURTH NEDERLAND B.V.
POSTBUS 344                                 5/23/2018          256          $0.00       $0.00           $0.00           $0.00             UNL     Pursuant to the Debtors' books and records,
S-HERTOGENBOSCH, NB 5201 AH                                                                                                                       the Debtors have determined that there are no
NETHERLANDS                                                                                                                                       amounts outstanding pertaining to this
                                                                                                                                                  assertion. Therefore, the Debtor has no
                                                                                                                                                  liability related to this claim.




                      Total Claims To Be Disallowed:    55                  $0.00    $8,355.11     $12,850.00   $13,680,658.82   $13,701,863.93




                                                                                                                                                                Page 19
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                                                             Reduce Claims



  Name of Claimant and Address       Claim Number        Claim Amount            Modified Claim Amount                        Reason for Modification

4WALL ENTERTAINMENT, INC.                           Secured:             $0.00   Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
1 CAROL PLACE                            266        Admin:               $0.00   Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
MOONACHIE, NJ 07074                                                                                           records.
                                                    Priority:            $0.00   Priority:            $0.00
                                                    Unsecured:     $50,570.65    Unsecured:     $40,835.65

                                                    Total:         $50,570.65    Total:         $40,835.65


A V STUMPFL USA CORP.                               Secured:            $0.00    Secured:            $0.00    Claim should be reduced to the Modified Claim Amount indicated
COFACE NORTH AMERICA INSURANCE           296        Admin:         $49,990.45    Admin:         $49,990.45    based on the amounts owed according to the Debtors’ books and
COMPANY                                                                                                       records.
                                                    Priority:           $0.00    Priority:           $0.00
650 COLLEGE ROAD EAST, SUITE 2005
PRINCETON, NJ 08540                                 Unsecured:     $99,174.55    Unsecured:     $94,821.30

                                                    Total:        $149,165.00    Total:        $144,811.75

ABEL CINE TECH, INC.                                Secured:             $0.00   Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
ABEL CINE                                252        Admin:               $0.00   Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
68 35TH STREET SUITE 4BE                                                                                      records.
                                                    Priority:           $0.00    Priority:           $0.00
BROOKLYN, NY 11232
                                                    Unsecured:     $97,995.58    Unsecured:     $89,622.83

                                                    Total:         $97,995.58    Total:         $89,622.83

ACEY DECY EQUIPMENT CO., INC                        Secured:             $0.00   Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
C/O DON DJOMEH                           332        Admin:               $0.00   Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
200 PARKSIDE DRIVE                                                                                            records.
                                                    Priority:            $0.00   Priority:            $0.00
SAN FERNANDO, CA 91340
                                                    Unsecured:     $48,869.27    Unsecured:     $45,274.55

                                                    Total:         $48,869.27    Total:         $45,274.55

ALTA INDUSTRIAL EQUIPMENT                           Secured:             $0.00   Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
13211 MERRIMAN RD                        374        Admin:            $198.82    Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
LIVONIA, MI 48150-1826                                                                                        records.
                                                    Priority:           $0.00    Priority:            $0.00
                                                    Unsecured:       $8,397.60   Unsecured:      $8,397.60

                                                    Total:           $8,596.42   Total:          $8,397.60


AUDIO-TECHNICA US INC                               Secured:            $0.00    Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
SUSAN WEHRMANN                           416        Admin:            $550.74    Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
1221 COMMERCE DRIVE                                                                                           records.
                                                    Priority:           $0.00    Priority:           $0.00
STOW, OH 44224
                                                    Unsecured:        $394.84    Unsecured:        $394.84

                                                    Total:            $945.58    Total:            $394.84

BARCO, INC.                                         Secured:            $0.00    Secured:             $0.00   Claim should be reduced to the Modified Claim Amount indicated
STREUSAND, LANDON, OZBURN AND            400        Admin:        $955,094.45    Admin:               $0.00   based on the amounts owed according to the Debtors’ books and
LEMMON, LLP                                                                                                   records.
                                                    Priority:            $0.00   Priority:            $0.00
811 BARTON SPRINGS ROAD, SUITE 811
AUSTIN, TX 78704                                    Unsecured:   $2,152,198.77   Unsecured:   $2,152,198.77

                                                    Total:       $3,107,293.22   Total:       $2,152,198.77


                                                                                                                                               Page 1
                                                                                                                                    In re:VER Technologies Holdco LLC, et al.
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                                                                 Reduce Claims



  Name of Claimant and Address           Claim Number        Claim Amount            Modified Claim Amount                      Reason for Modification

BOSCH SECURITY SYSTEMS, INC.                            Secured:             $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
130 PERINTON PARKWAY                         159        Admin:               $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
FAIRPORT, NY 14450                                                                                              records.
                                                        Priority:            $0.00   Priority:          $0.00
                                                        Unsecured:    $19,890.18     Unsecured:    $18,866.99

                                                        Total:        $19,890.18     Total:        $18,866.99


BULBTRONICS INC                                         Secured:           $0.00     Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
45 BANFI PLAZA                                94        Admin:        $26,450.69     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
FARMINGDALE, NY 11735                                                                                           records.
                                                        Priority:          $0.00     Priority:          $0.00
                                                        Unsecured:    $88,941.73     Unsecured:    $88,941.73

                                                        Total:       $115,392.42     Total:        $88,941.73

CHARTER / SPECTRUM                                      Secured:             $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
7820 CRESCENT EXECUTIVE DRIVE 1ST            129        Admin:               $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
FLOOR                                                                                                           records.
                                                        Priority:         $0.00      Priority:         $0.00
CHARLOTTE, NC 28217
                                                        Unsecured:      $698.83      Unsecured:      $159.73

                                                        Total:          $698.83      Total:          $159.73

CHAUVET                                                 Secured:             $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
DENISE RODRIGUEZ                              84        Admin:              $64.02   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
5200 NW 108 AVE                                                                                                 records.
                                                        Priority:            $0.00   Priority:          $0.00
SUNRISE, FL 33351
                                                        Unsecured:      $192.04      Unsecured:      $192.04

                                                        Total:          $256.06      Total:          $192.04

CLARK WIRE AND CABLE                                    Secured:             $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
408 WASHINGTON BLVD                           33        Admin:         $2,039.16     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
MUNDELEIN, IL 60060                                                                                             records.
                                                        Priority:          $0.00     Priority:          $0.00
                                                        Unsecured:     $2,482.32     Unsecured:     $2,482.32

                                                        Total:         $4,521.48     Total:         $2,482.32


DAVID A, LLC                                            Secured:             $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
ATTN MANAGER - LEASE ADMINISTRATION          581        Admin:               $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
C/O IDI GAZELEY 1100 PEACHTREE STREET,                                                                          records.
                                                        Priority:          $0.00     Priority:          $0.00
SUITE 1100
ATLANTA, GA 30309                                       Unsecured:    $62,833.03     Unsecured:    $60,178.11

                                                        Total:        $62,833.03     Total:        $60,178.11

DPA MICROPHONES, INC.                                   Secured:           $0.00     Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
1500 KANSAS AVE SUITE 3A                     418        Admin:         $3,600.00     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
LONGMOUNT, CO 80501                                                                                             records.
                                                        Priority:          $0.00     Priority:          $0.00
                                                        Unsecured:    $10,001.00     Unsecured:    $10,001.00

                                                        Total:        $13,601.00     Total:        $10,001.00


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EULER HERMES N.A. INSURANCE CO. AGENT                   Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
OF ALMO CORPORATION CLAIM ID 000418884       141        Admin:         $3,584.97    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
EULER HERMES NORTH AMERICA                                                                                     records.
                                                        Priority:          $0.00    Priority:          $0.00
INSURANCE COMPANY
800 RED BROOK BLVD                                      Unsecured:    $94,698.01    Unsecured:    $94,698.01
OWINGS MILLS, MD 21117
                                                        Total:        $98,282.98    Total:        $94,698.01


FERRELLGAS INC                                          Secured:          $0.00     Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
ONE LIBERTY PLAZA MD 40                      371        Admin:          $288.31     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
LIBERTY, MO 64068                                                                                              records.
                                                        Priority:         $0.00     Priority:         $0.00
                                                        Unsecured:      $454.73     Unsecured:      $454.73

                                                        Total:          $743.04     Total:          $454.73

FUJIFILM NORTH AMERICA CORPORATION                      Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
ANDREW MORINO                                 5         Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
200 SUMMIT LAKE DRIVE                                                                                          records.
                                                        Priority:          $0.00    Priority:          $0.00
VALHALLA, NY 10595
                                                        Unsecured:    $30,762.57    Unsecured:    $16,641.11

                                                        Total:        $30,762.57    Total:        $16,641.11

HASSETT EXPRESS LLC                                     Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
JOAN GOTTSCHILD                              120        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
18 W. 100 22ND STREET SUITE 109                                                                                records.
                                                        Priority:           $0.00   Priority:          $0.00
OAK BROOK TERRACE, IL 60181
                                                        Unsecured:     $6,225.00    Unsecured:     $5,175.00

                                                        Total:         $6,225.00    Total:         $5,175.00

JONATHAN SCHNEIDER, INC DBA                             Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
HDRENTAL.COM                                  35        Admin:             $0.00    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
JONATHAN ALLEN SCHNEIDER, OWNER                                                                                records.
                                                        Priority:      $7,620.00    Priority:          $0.00
16129 COVELLO ST
VAN NUYS, CA 91406                                      Unsecured:     $6,970.00    Unsecured:     $6,970.00

                                                        Total:        $14,590.00    Total:         $6,970.00


KESLOW CAMERA                                           Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
5900 BLACKWELDER ST                          407        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
CULVER CITY, CA 90232                                                                                          records.
                                                        Priority:          $0.00    Priority:          $0.00
                                                        Unsecured:     $4,259.50    Unsecured:     $2,229.50

                                                        Total:         $4,259.50    Total:         $2,229.50

LECTROSONICS, INC                                       Secured:           $0.00    Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
581 LASER RD NE                               23        Admin:       $115,069.58    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
RIO RANCHO, NM 87124                                                                                           records.
                                                        Priority:          $0.00    Priority:          $0.00
                                                        Unsecured:    $25,445.48    Unsecured:    $25,445.48

                                                        Total:       $140,515.06    Total:        $25,445.48


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  Name of Claimant and Address       Claim Number        Claim Amount           Modified Claim Amount                      Reason for Modification

LUXOR                                               Secured:       $3,005.83    Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
2245 DELANY ROAD                         769        Admin:              $0.00   Admin:         $2,293.33   based on the amounts owed according to the Debtors’ books and
WAUKEGAN, IL 60087                                                                                         records.
                                                    Priority:           $0.00   Priority:          $0.00
                                                    Unsecured:          $0.00   Unsecured:         $0.00

                                                    Total:         $3,005.83    Total:         $2,293.33


MAGNUM COMPANIES                                    Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
205 ARMOUR DRIVE NE                      702        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
ATLANTA, GA 30324                                                                                          records.
                                                    Priority:          $0.00    Priority:          $0.00
                                                    Unsecured:     $3,298.25    Unsecured:     $2,098.25

                                                    Total:         $3,298.25    Total:         $2,098.25

MEYER SOUND LABORATORIES INC.                       Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
2832 SAN PABLO AVE                       216        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
BERKELEY, CA 94702                                                                                         records.
                                                    Priority:          $0.00    Priority:          $0.00
                                                    Unsecured:    $43,307.73    Unsecured:    $41,913.81

                                                    Total:        $43,307.73    Total:        $41,913.81

MORPHEUS TECHNOLOGIES, LLC D/B/A                    Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
MORPHEUS LIGHTS                           37        Admin:         $1,841.00    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
PAUL T WELLER                                                                                              records.
                                                    Priority:          $0.00    Priority:          $0.00
6275 SOUTH SANDHILL ROAD SUITE 100
LAS VEGAS, NV 89120                                 Unsecured:     $1,425.45    Unsecured:     $1,425.45

                                                    Total:         $3,266.45    Total:         $1,425.45

MOTION LABORATORIES, INC.                           Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
RICHARD C. EBELING                       383        Admin:        $19,816.60    Admin:        $19,816.60   based on the amounts owed according to the Debtors’ books and
520 FURNACE DOCK ROAD                                                                                      records.
                                                    Priority:          $0.00    Priority:          $0.00
CORTLANDT MANOR, NY 10579
                                                    Unsecured:   $151,569.02    Unsecured:   $126,378.14

                                                    Total:       $171,385.62    Total:       $146,194.74


NELSON CASE CORP                                    Secured:          $0.00     Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
EDWARD BOBADILLA                          67        Admin:          $948.20     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
650 S JEFFERSON ST, STE A                                                                                  records.
                                                    Priority:          $0.00    Priority:          $0.00
PLACENTIA, CA 92870
                                                    Unsecured:     $9,677.61    Unsecured:     $9,677.61

                                                    Total:        $10,625.81    Total:         $9,677.61

NEUTRIK USA                                         Secured:           $0.00    Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
NIKKI BAIRD                              155        Admin:         $1,706.00    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
4115 TAGGART CREEK RD                                                                                      records.
                                                    Priority:          $0.00    Priority:          $0.00
CHARLOTTE, NC 28208
                                                    Unsecured:    $15,747.55    Unsecured:    $15,747.55

                                                    Total:        $17,453.55    Total:        $15,747.55


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                                                               Reduce Claims



  Name of Claimant and Address         Claim Number        Claim Amount           Modified Claim Amount                      Reason for Modification

PANASONIC / SERVICE / REPAIR                          Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
3330 CAHUENGA BLVD 1ST FLOOR               401        Admin:        $14,371.14    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
STUDIO CITY, CA 90068                                                                                        records.
                                                      Priority:          $0.00    Priority:          $0.00
                                                      Unsecured:    $15,436.70    Unsecured:    $15,436.70

                                                      Total:        $29,807.84    Total:        $15,436.70


RUPPERT FAMILY ELECTRONICS INC., DBA                  Secured:           $0.00    Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
ALPINE ELECTRONICS                          34        Admin:         $1,063.20    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
MIKE RUPPERT                                                                                                 records.
                                                      Priority:          $0.00    Priority:          $0.00
2211 LINCOLN AVENUE
SAN JOSE, CA 95125                                    Unsecured:     $5,180.65    Unsecured:     $5,180.65

                                                      Total:         $6,243.85    Total:         $5,180.65

SCHNEIDER OPTICS, INC                                 Secured:          $0.00     Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
285 OSER AVENUE                            506        Admin:          $511.15     Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
HAUPPAUGE, NY 11788                                                                                          records.
                                                      Priority:          $0.00    Priority:          $0.00
                                                      Unsecured:     $5,049.30    Unsecured:     $5,049.30

                                                      Total:         $5,560.45    Total:         $5,049.30

SONY ELECTRONICS INC.                                 Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
ATTN RICK BLAZIER                          398        Admin:       $253,096.86    Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
115 W CENTURY ROAD, SUITE 250                                                                                records.
                                                      Priority:          $0.00    Priority:          $0.00
PARAMUS, NJ 07652
                                                      Unsecured:    $47,229.56    Unsecured:    $47,229.56

                                                      Total:       $300,326.42    Total:        $47,229.56

SOUTHERN CALIFORNIA MESSENGERS                        Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
5757 WILSHIRE BLVD #3                      555        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
LOS ANGELES, CA 90036-3682                                                                                   records.
                                                      Priority:           $0.00   Priority:          $0.00
                                                      Unsecured:     $1,613.43    Unsecured:      $424.17

                                                      Total:         $1,613.43    Total:          $424.17


STEVEN HANKIN                                         Secured:            $0.00   Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
C/O MARC A. LIEBERMAN, ESQ.                 91        Admin:              $0.00   Admin:             $0.00   based on the amounts owed according to the Debtors’ books and
FREDMAN LIEBERMAN PEARL LLP 1875                                                                             records.
                                                      Priority:          $0.00    Priority:          $0.00
CENTURY PARK EAST, SUITE 2230
LOS ANGELES, CA 90067                                 Unsecured:   $480,252.25    Unsecured:   $475,000.00

                                                      Total:       $480,252.25    Total:       $475,000.00

SUNBELT RENTALS, INC.                                 Secured:           $0.00    Secured:           $0.00   Claim should be reduced to the Modified Claim Amount indicated
C/O ASHLEY A. EDWARDS, ESQ                 731        Admin:        $27,428.12    Admin:        $27,428.12   based on the amounts owed according to the Debtors’ books and
401 SOUTH TRYON STREET, SUITE 3000                                                                           records.
                                                      Priority:          $0.00    Priority:          $0.00
CHARLOTTE, NC 28202
                                                      Unsecured:    $62,021.24    Unsecured:    $50,651.22

                                                      Total:        $89,449.36    Total:        $78,079.34


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  Name of Claimant and Address               Claim Number             Claim Amount           Modified Claim Amount                        Reason for Modification

TMB                                                          Secured:                $0.00   Secured:            $0.00    Claim should be reduced to the Modified Claim Amount indicated
527 PARK AVENUE                                    89        Admin:            $15,587.20    Admin:              $0.00    based on the amounts owed according to the Debtors’ books and
SAN FERNANDO, CA 91340                                                                                                    records.
                                                             Priority:              $0.00    Priority:           $0.00
                                                             Unsecured:        $54,878.06    Unsecured:    $54,878.06

                                                             Total:            $70,465.26    Total:        $54,878.06


TOWER PRODUCTS INCORPORATED D/B/A                            Secured:               $0.00    Secured:            $0.00    Claim should be reduced to the Modified Claim Amount indicated
TECNEC DISTRIBUTING                                70        Admin:             $2,845.82    Admin:          $2,845.82    based on the amounts owed according to the Debtors’ books and
HEIDI THOMPSON                                                                                                            records.
                                                             Priority:              $0.00    Priority:          $0.00
812 KINGS HWY BOX 397
SAUGERTIES, NY 12477                                         Unsecured:        $25,462.35    Unsecured:    $24,162.40

                                                             Total:            $28,308.17    Total:        $27,008.22

                                                             Secured:            $3,005.83                        $0.00
                    Total Claims To Be Modified:        37
                                                             Admin:          $1,496,146.48                 $102,374.32
                                                             Priority:           $7,620.00                       $0.00
                                                             Unsecured:      $3,733,604.83                $3,639,234.16

                                                             Total:          $5,240,377.14                $3,741,608.48




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                                                          Reduce & Reclass Claims



  Name of Claimant and Address          Claim Number     Claim Priority Status      Modified Priority Status                      Reason for Modification

BENSUSSEN DEUTSCH AND ASSOCIATES, LLC                  Secured:             $0.00   Secured:             $0.00   The asserted administrative priority amount has no basis because
ARE BILLING                                 662        Admin:          $12,447.03   Admin:           $4,266.82   it should be reclassified to a general unsecured claim equal to the
15525 WOODINVILLE-REDMOND RD NE                                                                                  prepetition amount outstanding in the Debtors' books and records.
                                                       Priority:            $0.00   Priority:            $0.00
WOODINVILLE, WA 98072
                                                       Unsecured:      $37,445.18   Unsecured:       $2,689.17

                                                       Total:          $49,892.21   Total:           $6,955.99


JETWAVE WIRELESS, LLC                                  Secured:        $19,984.00   Secured:             $0.00   The asserted administrative priority amount has no basis because
5228 EISENHOWER AVE                         298        Admin:               $0.00   Admin:               $0.00   it should be reclassified to a general unsecured claim equalling the
ALEXANDRIA, VA 22304                                                                                             amount owed to the creditor prepetition.
                                                       Priority:            $0.00   Priority:            $0.00
                                                       Unsecured:      $10,778.14   Unsecured:      $25,184.00

                                                       Total:          $30,762.14   Total:          $25,184.00

LNL ANODIZING, INC.                                    Secured:             $0.00   Secured:             $0.00   The Debtors propose to reduce the asserted administrative priority
9900 GLENOAKS BLVD UNIT 3                    51        Admin:          $21,134.44   Admin:           $6,669.09   amount based on the receipt of goods within 20 days of the
SUN VALLEY, CA 91352                                                                                             petition date and to reclassify the remaining prepetition amount
                                                       Priority:           $0.00    Priority:            $0.00
                                                                                                                 owed as a general unsecured claim.
                                                       Unsecured:        $832.42    Unsecured:      $15,200.57

                                                       Total:          $21,966.86   Total:          $21,869.66

LRP INDUSTRIES                                         Secured:             $0.00   Secured:             $0.00   The asserted administrative priority amount has no basis because
11531 CHAIRMAN DR                           391        Admin:            $706.11    Admin:               $0.00   it should be reclassified to a general unsecured claim equalling the
DALLAS, TX 75243                                                                                                 amount owed to the creditor prepetition.
                                                       Priority:          $53.81    Priority:            $0.00
                                                       Unsecured:           $0.00   Unsecured:        $706.11

                                                       Total:            $759.92    Total:            $706.11

M.S. SIGNS, INC                                        Secured:             $0.00   Secured:             $0.00   The asserted administrative priority amount has no basis because
6 MORRIS STREET                             218        Admin:          $13,736.82   Admin:               $0.00   it should be reclassified to a general unsecured claim equalling the
NEW JERSEY, NJ 07501                                                                                             amount owed to the creditor prepetition.
                                                       Priority:            $0.00   Priority:            $0.00
                                                       Unsecured:           $0.00   Unsecured:      $10,976.78

                                                       Total:          $13,736.82   Total:          $10,976.78


SHURE INCORPORATED                                     Secured:             $0.00   Secured:             $0.00   The Debtors propose to reduce the asserted administrative priority
TOM DORAN                                   405        Admin:          $23,352.19   Admin:          $20,614.32   amount based on the receipt of goods within 20 days of the
5800 WEST TOUHY AVENUE                                                                                           petition date and to reclassify the remaining prepetition amount
                                                       Priority:            $0.00   Priority:            $0.00   owed as a general unsecured claim.
NILES, IL 60714
                                                       Unsecured:      $12,458.72   Unsecured:       $8,505.57

                                                       Total:          $35,810.91   Total:          $29,119.89




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                                                           Reduce & Reclass Claims



Name of Claimant and Address             Claim Number      Claim Priority Status      Modified Priority Status     Reason for Modification

                Total Claims To Be Modified:     6      Secured:         $19,984.00                        $0.00
                                                        Admin:           $71,376.59                   $31,550.23
                                                        Priority:            $53.81                        $0.00
                                                        Unsecured:       $61,514.46                   $63,262.20

                                                        Total:          $152,928.86                   $94,812.43




                                                                                                                                 Page 2
